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                       Schedule 1

                     Initial Budget
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Yellow Corp and Subsidiaries
Cash Flow Forecast
For Week Ending 8/11
($ 000s)
Week Ending                                             8/11/2023
Act./Fct.                                                  Fct.
Total Receipts                                         $    30,000
Operating Disbursements
 Payroll & Related                                     $     7,615
 Other Opex                                                  3,129
Total Operating Disbursements                          $    10,744
 Professional Fees Reserve(1)                                    -
 Accrued Pre-Petition Wages(2)                               8,450
 Prepetition Vendors & Taxes                                   500
Total Restructuring                                    $     8,950
 Interest and Adequate Protection                      $          -
Total Disbursements                                    $    19,694
Total Net Cash Flow                                    $    10,306
 (+/-) ABL Paydown (80% of receipts)                       (24,000)
Total Net Cash Flow Including ABL Paydown              $   (13,694)
Unrestricted US and Canada Cash Rollforward (3)
 Beginning Cash Balance                                $    38,855
 (-) ABL Paydown (80% of receipts)                         (24,000)
 (-) ABL Paydown (One-Time)                                (16,500)
 (+/-) Net Cash Flow                                        10,306
 (+) DIP TL Proceeds                                             -
Ending Cash Balance                                    $     8,661
Net ABL Exposure (4)                                   $ 235,383
Restricted Cash                                          131,949
Notes:
(1) Assumes all professional fees are funded into a reserve as incurred
(2) Prepetition salaries for ongoing employees and other benefits are included in operating disbursements
(3) Includes approximately CAD $1.9 million (translated at $0.749) and USD $0.4 million held by the Canadian debtors
(4) Ending ABL Exposure equal to 102% of outstanding letters of credit net of restricted cash
